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                                   STATEMENT OF FACTS

       Your affiant,                     , is a Special Agent of the Federal Bureau of Investigation
(“FBI”). I am primarily assigned to investigate matters related to domestic terrorism. Currently, I
am tasked with investigating criminal activity in and around the U.S. Capitol grounds on January
6, 2021. As a Special Agent, I am authorized by law or by a government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal criminal
laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of

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        Based on CCTV footage, from approximately 3:01 p.m. to 3:02 p.m., ORLANDO walked
up the staircase that led to the second floor of the Capitol building, and passed the security desk,
towards the doors to the Senate Chamber. ORLANDO continued to hold his phone in front of
him in a manner that appeared to be recording a video or taking a photo.




                                             Figure 4




                                                 6
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                                           Figure 10

       At approximately 3:10 p.m., CCTV footage captured police removing ORLANDO from
the Capitol building, through the Senate Carriage Door on the east side of the Capitol building.
Based on the CCTV footage, ORLANDO appears to be holding up his phone.




                                           Figure 11

       Based on open-source video, at approximately 3:29 p.m., after being removed from the
Senate floor by law enforcement, ORLANDO re-entered the Capitol Building for a second time,
through a broken window near the Senate Wing Door.




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                                                                                          2

                                            Figure 12

        Based on open-source video, ORLANDO was in the Senate Wing Door lobby from 3:29
p.m. to 3:37 p.m. and exited the Capitol building through the Senate Wing Door.




                                                                                      3

                                            Figure 13

       Based on my review of open-source footage, ORLANDO was on restricted Capitol grounds
on January 6, 2021. According to the open-source footage, ORLANDO saw police wearing gloves,


2
    https://archive.org/download/rTXTrphEFtxRjaDgo/rTXTrphEFtxRjaDgo mpeg4
3
    https://archive.org/download/4WCwJaYLb5pioxMnY/TRUMP_RALLY_DC_2021_01_06.mpeg4

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body armor, and helmets with face shields. The open-source footage shows police deploying a
chemical irritant in the air to control crowds.




                                                                                          4

                                            Figure 14
       Based on my review of open-source photos, ORLANDO was climbing and standing on
various balustrades on Capitol grounds throughout January 6, 2021. The open-source photo shows
Orlando with a blue skateboard.




                                                                                   5

                                                  Figure 15



4
    https://www.youtube.com/watch?v=YzxvVi8wkrU&t=457
5
    https://www.flickr.com/photos/randallartphotos/50836017598/

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                                                                                          6

                                                  Figure 16


                           PROBABLE CAUSE OF VIOLATIONS OF LAW

        Based on the foregoing, your affiant submits that there is probable cause to believe that
ORLANDO violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that ORLANDO violated 40
U.S.C. § 5104(e)(2)(A)(D) and (G), which makes it a crime to willfully and knowingly (A) enter
or remain on the floor of a House of Congress without authorization; (D) utter loud, threatening,
or abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or
in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of
a session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress; and
(G) parade, demonstrate, or picket in any of the Capitol Buildings.


6
    https://www.flickr.com/photos/randallartphotos/50836744791/

                                                     13
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